 

Case 2:20-cv-01900-MCA-MAH Documents Filed os/6/eq FTE iii AWTATITTIALT | Hi

20200310100031

 

AO 440 (Rev. 06/12) Summons in a Civil Action RETURN OF SERVICE

SERVICE OF: SUMMONS AND COMPLAINT, CERTIFICATIONS, ATTACHMENTS, CIVIL COVER SHEET
EFFECTED (1) BY ME: MARIAN ZWIERZYNSKI

TITLE: PROCESS SERVER
DATE: 3/12/2020 5:04:44 PM

 

 

CHECK ONE BOX BELOW TO INDICATE APPROPRIATE METHOD OF SERVICE:

| ] Served personally upon the defendant

Place where served:

[X] Left copies thereof at the defendant's dwelling house or usual place of abode with a person of suitable age and discretion then residing
therein. Name of person with whom the summons and complaint were left:

Relationship to defendant | = (<a as;

Description of Person Accepting Service:

SEX ACES HECHT: welch sn ae oor:

[X] To the best of my knowledge, said person was not engaged in the U.S. Military at the time of service

 

 

STATEMENT OF SERVER

TRAVELS SERVICES$_ —{\ TOTAL $
4

DECLARATION OF SERVER

 

 

   
   

 
 

| declare under penalty of perjury under the | { the United States of America thal the f

this Return of Service and Statement of Server is true
. *
DATE: 3 { 3 / 204)

ding information coniained in
orrect.

SIGNATURE OF MARIAN ZWIERZYNSKI
GUARANTEED SUBPOENA SERVICE, INC.
2009 MORRIS AVENUE
UNION, NJ 07083

ATTORNEY: JOHN C. ATKIN, ESQ.

 

ot seat Shore on
PLAINTIFF: STRIKE 3 HOLDINGS, LLC 3 Ser .
DEFENDANT: JOHN DOE INFRINGER IDENTIFIED AS USING IP ADDRESS 24.38. 195307 :
VENUE: DISTRICT - f oO
DOCKET: 2 20 CV 01900 MCA MAH i ia
COMMENT: 2 \ PuBY
“ong

2
nparew ea Expires Dec, 18, 2023

 

 
